             Case 2:08-cr-00390-GEB Document 147 Filed 04/04/11 Page 1 of 2


1    DWIGHT M. SAMUEL (CA SB# 054486)
     A Professional Corporation
2    117 J Street, Suite 202
     Sacramento, California 95814-2282
3    DwightSamuelAtty@Yahoo.com
     (916) 447-1193
4
     Attorney for Defendant
5    PAMOUANE PHONEPHACKDY
6
7
8
                               IN THE UNITED STATES DISTRICT COURT
9
                     IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA, )                No. CR.S. 08-389 GEB
12                                 )
           Plaintiff,              )
13                                 )            STIPULATION AND PROPOSED
     v.                            )            ORDER REGARDING TERMS OF
14                                 )            RELEASE
     PAMOUANE PHONEPHACKDY, )
15                                 )
           Defendant.              )
16   ______________________________)
17
            All parties agree that Defendant, Pamouane Phonephackdy’s passport which is presently
18
     lodged with the Clerk of the Court may be returned to him through his attorney Dwight M.
19
     Samuel. Defendant has voluntarily surrender on March 18th.
20
21   Respectfully submitted,
22   Dated: April 1, 2011
                                                       /s/ Dwight M. Samuel
23                                                     DWIGHT M. SAMUEL
                                                       Attorney for Defendant
24
25
     Dated: April 1, 2011                              /S/ Mike Beckwith
26                                                     MIKE BECKWITH
                                                       Assistant U.S. Attorney
27
28                                                 1
             Case 2:08-cr-00390-GEB Document 147 Filed 04/04/11 Page 2 of 2


1
     IT IS SO ORDERED.
2
3    Dated: April 1, 2011

4
5                                     GARLAND E. BURRELL, JR.
                                      United States District Judge
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                         2
